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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:08CR222
                                               )
               Plaintiff,                      )
                                               )
               vs.                             )             TENTATIVE FINDINGS
                                               )
EDDIE GARCIA,                                  )
                                               )
               Defendant.                      )

       The Court has received the Presentence Investigation Report (“PSR”) in this case.

The parties have not objected to the PSR. See Order on Sentencing Schedule, ¶ 6. The

Court advises the parties that these Tentative Findings are issued with the understanding

that, pursuant to United States v. Booker, 2005 WL 50108 (U.S. Jan. 12, 2005), the

sentencing guidelines are advisory.

       IT IS ORDERED:

       1.      The parties are notified that my tentative findings are that the PSR is correct

in all respects;

       2.      If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       3.      Absent submission of the information required by paragraph 2 of this Order,

my tentative findings may become final; and
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      4.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

      DATED this 11th day of May, 2009.

                                              BY THE COURT:


                                              s/Laurie Smith Camp
                                              United States District Judge




                                          2
